Case 24-20226 Doci11-2 Filed 06/18/24 Entered 06/18/24 14:45:43 Desc Exhibit
Exhibit A to Declaration of Kenny Lok Page 1 of 1

Account Type Settlement Period Find a transaction
Standard Orders v | | 6/16/2024 - Present (Open) ¥ | Enter order number

Net Proceeds @
6/16/2024 - Present Product charges $20,040.74
$0.00
Beginning Balance @) B Shipping 45020
$68,062.53 m FBA fees $0.36
B Other $407.33
m Refunded expenses 178.82
Sales )
$20,898.63
Refunds ()
-$909.02 Refunded sales $1,087.84
Promo rebates -$295.33
Expenses (2) FBA fees $1,076.89
“$13,387.59 Cost of Advertising @ -$3,718.68
Shipping charges $5.62
Account Level Reserve @ ppngnesg ;
$74,664.55 Amazon fees $8,279.67
Other $11.40
Print Statement

View transactions for this period
Your next scheduled transfer initiation date is 6/20/2024". However, if your available balance remains $0.00, no transfer will be initiated on this
date.
*Transfers can take 3-5 business days to complete and actual transfer amount is subject to change. View our Help page for more information about when
you will be paid.
